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                      IN THE UNITED STATES DISTRICT COURT
                                                                       U.S.DISC   ;:t court
                                                                                    u: V
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                       Z021 Ml 12 P 2: 53
                                AUGUSTA DIVISION
                                                                  :le      J.
                                                                        M ●-

DANIEL REEVES; HO PUN REEVES;              )                             SO.Ul
and DANA REEVES,                           )
                                           )
             Plaintiffs,                   )
                                           )
      V.                                   )     CV 120-172
                                           )
BRIAN KEMP, Governor of Georgia,           )
In his Official Capacity,                  )
                                           )
             Defendant.                    )



                                      ORDER



      After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge’s Report and Recommendation, to which no objections have been filed. Accordingly,

the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion,

DISMISSES this case without prejudice, and CLOSES this civil action.

      SO ORDERED this _/^^ay of January, 2021, at Augusta, Georgia.




                                        J. ra:    L HALL, CHIEF JUDGE
                                        UNITl^ STATES DISTRICT JUDGE
                                        ■SOtfn-IERN DISTRICT OF GEORGIA
